      Case 8-19-76260-ast            Doc 697       Filed 12/20/21        Entered 12/20/21 13:30:55




                                                     Hearing Date: January 12, 2022 at 11:30 a.m. (EDT)
                                                     Objection Deadline: January 5, 2022

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Attorneys for Deborah Fetterly

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
-----------------------------------------------------------------X
                                                                      Chapter 11
IN RE:
                                                                      Case Nos.         19-76260-ast
ABSOLUT FACILITIES                                                                      19-76263-ast
MANAGEMENT, LLC, ET AL.,                                                                19-76267-ast
                                                                                        19-76268-ast
                                                                                        19-76269-ast
                          Debtors1.                                                     19-76270-ast
                                                                                        19-76271-ast
-----------------------------------------------------------------X                      19-76272-ast



    NOTICE OF HEARING AND MOTION FOR RELIEF FROM THE AUTOMATIC
      STAY PURSUANT TO BANKRUPTCY RULE 4001 AND 11 U.S.C. §362(d)
                       PURSUANT TO 11 U.S.C. §361

        PLEASE TAKE NOTICE that upon the annexed motion, Deborah Fetterly (“Movant”),

by and through her attorneys Simon PLC Attorneys & Counselors, will move this Court at the

United States Bankruptcy Court, U.S. Courthouse, Conrad B. Duberstein U.S. Courthouse, 271-C

Cadman Plaza East, Courtroom 2554, Brooklyn 11201, on January 12, 2022, at 11:30 a.m., or as

soon thereafter as counsel may be heard, for an Order:



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 The Debtors in these Chapter 11 Cases, along with the last four digits of each Debtor’s federal tax identification
number, are: Absolut Facilities Management, LLC (1412); Absolut Center for Nursing and Rehabilitation at Allegany,
LLC (7875); Absolut Center for Nursing and Rehabilitation at Aurora Park, LLC (8266); Absolut Center for Nursing
and Rehabilitation at Gasport, LLC (8080); Absolut at Orchard Brooke, LLC (1641); Absolut Center for Nursing and
Rehabilitation at Orchard Park, LLC (8300); Absolut Center for Nursing and Rehabilitation at Three Rivers, LLC
(8133); and Absolut Center for Nursing and Rehabilitation at Westfield, LLC (7924).
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       1.       Pursuant to 11 U.S.C. § 362 and Bankruptcy Rule 4001, granting Movant’s relief

from the automatic stay to pursue a claim against the two (2) of the jointly administered Debtors,

in particular, Absolut At Aurora Park, LLC and Absolut Center For Nursing &

Rehabilitation At Aurora Park, LLC, in a civil action currently pending in the Supreme Court

of the State of New York, County of Erie, styled Deborah Fetterly, Plaintiff, v. 292 Main Street,

LLC, Absolut At Aurora Park, LLC and Absolut Center For Nursing & Rehabilitation At Aurora

Park, LLC, Defendants, Index No.: 807080/2019.

       2.       Granting Movant such other relief as is just and proper.

       PLEASE TAKE FURTHER NOTICE that any responsive papers should be filed with the

Court, no later than seven (7) days prior to the return date set forth above.

       PLEASE TAKE FURTHER NOTICE that responses or objections to the Motion, if any,

must be in writing, shall conform to the Federal Rules of Bankruptcy Procedure and the Local

Bankruptcy Rules for the Eastern District of New York, and shall be (a) filed with the Bankruptcy

Court electronically in accordance with General Order 599 (which can be found at

www.nyeb.uscourts.gov), and (b) served on (i) Simon PLC Attorneys & Counselors, counsel to

Deborah Fetterly (Attn: Craig T. Mierzwa, Esq., 845 Third Avenue, 6th Floor, New York, NY

10021); and (ii) Office of the U.S. Trustee, Eastern District of New York, Central Islip Office,

Alfonse M D'Amato U.S. Courthouse, 560 Federal Plaza, Central Islip, NY 11722 so as to be so

filed and received no later than January 5, 2022 (the “Objection Deadline”).

       PLEASE TAKE FURTHER NOTICE that if no responses or objections are timely filed

and served, the Court may grant the relief requested in the Motion without a hearing.

       PLEASE TAKE FURTHER NOTICE that due to COVID-19 all hearings before

Honorable Alan S. Trust will be conducted telephonically until further notice. All parties,



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including attorneys, clients, and pro se parties, may appear telephonically in accordance with

the instructions below. Parties do not need to contact the Courtroom Deputy to request prior

authorization to appear telephonically.

       All parties must email the Courtroom Deputy at: ast_hearings@nyeb.uscourts.gov at

least 24 hours in advance of the scheduled hearing to identify the parties that will appear.

All attorneys must also identify the party the attorney represents. Please note that you should

call in for the time in which your hearing is scheduled. Additionally, depending on where

your case is on the calendar, you may have to wait a little while, so please put your phone on

mute until your case is called.

Dated: December 20, 2021

                                            SIMON PLC ATTORNEYS & COUNSELORS


                                            /s/ Craig T. Mierzwa
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